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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

Jessica Lewis,                                       *      Civil Action No. 2:22-cv-04143
       Plaintiff                                     *
                                                     *
vs.                                                  *      Judge Eldon E. Fallon
                                                     *
Plaquemines Parish School Board,           *
       Defendant                           *     Magistrate Karen Wells Roby
                                           *
******************************************************************************
                                                ORDER

       CONSIDERING THE FOREGOING Motion to Withdraw Counsel of Record,

       IT IS ORDERED that the motion be and is granted, and Melissa S. Losch, Bar Roll No.

26811, is withdrawn as counsel of record in the above-captioned matter.
                             14th
       SO ORDERED, this the ______day      August
                                      of ______________, 2023.



                            ______________________________
                           UNITED STATES DISTRICT COURT
                                 MAGISTRATE JUDGE




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